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                                                                U.S. Department of Justice

                                                                Civil Division
                                                                Federal Programs Branch



                                                                1100 L St NW
                                                                Washington, D.C. 20012


                                                                June 5, 2025
BY ECF
The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15C
New York, NY 10007
                  Re:      MTA, et al. v. Duffy, et al., No. 25 Civ. 1413 (LJL)
Dear Judge Liman:
        We write respectfully on behalf of the Defendants, Plaintiffs Metropolitan Transportation
Authority and Triborough Bridge and Tunnel Authority, and Intervenor-Plaintiffs New York State
Department of Transportation, New York City Department of Transportation, Riders Alliance, and
Sierra Club to jointly request that the Court amend the current case schedule set forth at ECF No.
57 and adopt the revised schedule proposed below. Good cause exists for this request, as it
effectuates the Court’s directive at the May 27, 2025 hearing that the parties confer on how to
advance the case more expeditiously to a final judgment.
         The parties agree on and propose the following schedule:
             •    Defendants do not need to file an answer to the operative complaints (ECF Nos. 63,
                  96) and are excused from the current deadline of June 6, 2025 (ECF No. 134). By
                  agreement of the parties, this does not constitute an admission or denial of any
                  allegation set forth in the operative complaints. 1

             •    Plaintiffs and Intervenor-Plaintiffs do not intend to seek discovery at this time but
                  reserve the right to do so.

             •    Plaintiffs and Intervenor-Plaintiffs will file one or more motions for summary
                  judgment or motions for partial summary judgment sufficient to fully determine
                  relief on or before June 27, 2025. The total combined length of all such motions
                  will not exceed 50 pages, excluding non-substantive content like table of contents

1
  Under Federal Rule of Civil Procedure 56(b), motions for summary judgment can be filed and decided “at any time,”
even before a defendant answers the complaint. See Altman v. Curtiss-Wright Corp., 124 F.2d 177, 178 (2d Cir. 1941)
(Hand, J.) (affirming grant of summary judgment before defendant answered); Jones v. U.S. Dep’t of Just., 601 F.
Supp. 2d 297, 302 (D.D.C. 2009) (“A defendant, however, is not required to respond in the form of an answer before
making a motion for summary judgment, which may be made by a defending party ‘at any time.’” (citing Fed. R. Civ.
P. 56(b))); Hubicki v. ACF Indus., Inc., 484 F.2d 519, 522 (3d Cir. 1973) (same); Gifford v. Travelers Protective Ass’n
of Am., 153 F.2d 209, 210–11 (9th Cir. 1946) (same).
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                    and table of authorities. This 50-page limit applies collectively to Plaintiffs and
                    Intervenor-Plaintiffs, regardless of whether they file a single combined motion or
                    multiple separate motions. Where appropriate and to avoid repetition, Plaintiffs will
                    incorporate by reference arguments previously made in the preliminary injunction
                    briefing.

                •   Defendants will file a cross-motion for summary judgment on or before June 27,
                    2025. Defendant’s cross-motion will not exceed 50 pages, excluding non-
                    substantive pages. Where appropriate and to avoid repetition, Defendants will
                    incorporate by reference arguments previously made in the preliminary injunction
                    briefing. Any avoidance or defense not raised in Defendants’ cross-motion for
                    summary judgment shall be deemed waived, as though Defendants had filed an
                    answer and had failed to raise the avoidance or defense therein.

                •   Plaintiffs and Intervenor-Plaintiffs will file one or more combined opposition-reply
                    briefs on or before July 18, 2025. The total combined length of such briefs will be
                    proposed by Plaintiffs and Intervenor-Plaintiffs following the submission of the
                    cross-motions for summary judgment. Where appropriate and to avoid repetition,
                    Plaintiffs will incorporate by reference arguments previously made in the
                    preliminary injunction briefing.

                •   Defendants will file a combined opposition-reply brief on or before July 18, 2025.
                    The total combined length of such briefs will be proposed by Defendants following
                    the submission of the cross-motions for summary judgment. Where appropriate
                    and to avoid repetition, Defendants will incorporate by reference arguments
                    previously made in the preliminary injunction briefing.

          The parties respectfully request that the Court enter an order consistent with the parties’
    above agreement.
                                                          Respectfully,

                                                          YAAKOV M. ROTH
                                                          Acting Assistant Attorney General

                                                          STEPHEN ELLIOTT
                                                          Assistant Director, Federal Programs

                                                 By:      /s/ Michael Bruns
June 6, 2025                                              Michael Bruns
                                                          Samuel S. Holt
                                                          Trial Attorneys
                                                          Federal Programs Branch
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